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16
                                UNITED STATES DISTRICT COURT
17                             EASTERN DISTRICT OF WASHINGTON
18
      UNITED STATES OF
19    AMERICA,
20          Plaintiff,
                                                    Case No. 1:20-cv-3191
21          v.
22
                                          COMPLAINT FOR PERMANENT
      VALLEY PROCESSING, INC., a          INJUNCTION
23    corporation, and MARY ANN BLIESNER,
      individually,
24

25          Defendants.
26

27         Plaintiff United States of America, by and through its undersigned attorneys,
28
                                          1

     Complaint for Permanent Injunction
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 1   respectfully represents as follows:
 2
                                           INTRODUCTION
 3

 4
           1.   The United States of America brings this action on behalf of the United States

 5   Food and Drug Administration (“FDA”) pursuant to the Federal Food, Drug, and
 6
     Cosmetic Act (the “Act”), 21 U.S.C. § 332(a), to permanently enjoin and restrain Valley
 7

 8   Processing, Inc. (“Valley Processing”) and Mary Ann Bliesner (collectively,
 9   “Defendants”), from introducing or delivering for introduction into interstate commerce,
10
     or the causing thereof, food that is adulterated, in violation of 21 U.S.C. § 331(a), and
11

12   causing such food to become adulterated while it is held for sale after shipment of one or
13   more of its components in interstate commerce, in violation of 21 U.S.C. § 33l(k).
14
                                  JURISDICTION AND VENUE
15

16         2.   This Court has jurisdiction under 21 U.S.C. § 332(a) and 28 U.S.C. §§ 1331,
17   1337, and 1345, and personal jurisdiction over all parties.
18
           3.   Venue in this district is proper pursuant to 28 U.S.C. § 1391(b) and (c).
19

20                                          DEFENDANTS
21
           4.   Defendant Valley Processing is a Washington corporation previously
22
     headquartered at 108 Blaine Ave., Sunnyside, Washington 98944. Valley Processing
23

24   manufactured single strength fruit juice and fruit juice concentrate, including bulk apple,
25
     pear, and grape juice products distributed in pails, barrels, totes, and tanker trucks. The
26
     company was incorporated on July 16, 1980, and had seventy-one (71) employees. The
27

28   company supplied apple juice through one customer to the United States Department of
                                            2

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 1   Agriculture (“USDA”) school lunch program, providing approximately 2,964,000 apple
 2
     juice servings to schoolchildren every year. The company’s facilities included three
 3

 4
     manufacturing plants, an ambient warehouse (“Mojo Warehouse”), a cold room, and

 5   three coolers, all located at the Blaine Avenue location. In addition to the Blaine Avenue
 6
     facilities, Defendants also stored product in an ambient storage facility, where product
 7

 8   was stored outside, located at 130 US Grape Road, Sunnyside, Washington 98944, and in
 9   another storage room known as the Briner Cold Room, located in the maintenance
10
     building at 105 South First Street, Sunnyside, Washington, 98944.
11

12         5.    Defendant Mary Ann Bliesner is Valley Processing’s Owner, President,
13   Secretary, and Treasurer. At all times relevant to the allegations in this Complaint, Ms.
14
     Bliesner was responsible for the day-to-day management of the company’s juice
15

16   production facility, including supervising and training employees. She was the most
17   responsible person at the company, overseeing operations, and had the authority to take
18
     corrective actions, as well as the authority to hire and fire employees.
19

20              HEALTH RISKS ASSOCIATED WITH DEFENDANTS’ PRODUCTS
21
           6.    Defendants’ juice products have been found to contain inorganic arsenic and
22
     patulin, both toxins which pose a health risk to consumers.
23

24         7. Arsenic is an element that occurs in the environment from both natural and
25
     manmade sources, including the erosion of arsenic-containing rocks, volcanic eruptions,
26
     contamination from mining and smelting ores, and previous or current use of arsenic-
27

28   containing pesticides. Arsenic is found in both inorganic and organic forms, and
                                            3

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 1   inorganic arsenic is generally considered more toxic than organic arsenic. Exposure to
 2
     inorganic arsenic has been associated with cancer, skin lesions, cardiovascular disease,
 3

 4
     neurotoxicity and diabetes in humans. Inorganic arsenic is a hazard that is reasonably

 5   likely to occur in processing both apple and pear juice products. Thermal processing,
 6
     including pasteurization, does not destroy arsenic.
 7

 8         8. Patulin is a mycotoxin produced by certain species of molds that may grow on
 9   a variety of foods, including apples and pears. High levels of patulin can be produced in
10
     rotting or moldy apples or pears. Apples and pears that have been damaged, by falling off
11

12   the tree, by insects or birds, or by rough handling, are more susceptible to the growth of
13   patulin producing molds. Storage of apples under conditions that do not control mold
14
     growth can also lead to high levels of patulin. If fallen fruit, moldy, rotten, bruised,
15

16   damaged, or improperly stored apples are used to make juice, high levels of patulin can
17   occur in the juice even if it is pasteurized. Thermal processing, including pasteurization,
18
     does not destroy patulin.
19

20         9. Exposure to high levels of patulin over time may pose health hazards in
21
     humans, including nausea, vomiting, and gastrointestinal disturbances. FDA has
22
     established an action level of 50 parts per billion (“ppb”) in apple juice. Patulin can be
23

24   destroyed by fermentation, so it is not found in either alcoholic beverages or vinegars
25
     produced from apple or pear juices.
26

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 1                                 REGULATORY FRAMEWORK
 2
           10. Defendants’ juice products are food within the meaning of the Act, 21 U.S.C.
 3

 4
     §321(1).

 5         11. FDA’s food current good manufacturing practice (“CGMP”) regulations
 6
     establish basic practices that must be followed, and conditions that must be maintained,
 7

 8   by entities or individuals, like Defendants, who receive, prepare, process, pack, hold, or
 9   distribute food. See 21 C.F.R. Part 117 subpart B. The purpose of CGMP is to ensure that
10
     food is processed in a safe and sanitary manner.
11

12         12. Juice processors must monitor, with sufficient frequency, their sanitation
13   conditions and practices used during processing to ensure, at a minimum, that they
14
     conform with CGMP regulations for manufacturing, packing, or holding human food,
15

16   see, e.g., 21 C.F.R. Part 117 subpart B. 21 C.F.R. § l 20.6(b). Violations of CGMP help to
17   determine whether the facilities, methods, practices, and controls used to process juices
18
     are sanitary and safe. 21 C.F.R. § 120.5; see also 21 C.F.R. Part 117 subpart B.
19

20         13. Defendants are also subject to the juice Hazard Analysis and Critical Control
21
     Point (“HACCP”) regulation, 21 C.F.R. Part 120, because they manufacture juice
22
     products that are both sold as juice and that are “used as an ingredient in beverages,” see
23

24   21 C.F.R. § 120.1, and because Defendants’ manufacturing operations constitute
25
     “processing,” as defined by 21 C.F.R. § 120.3(i)(l).
26
           14. The juice HACCP regulation, 21 C.F.R. Part 120, creates a system to prevent
27

28   the occurrence of potential food hazards in juice. HACCP achieves this goal by requiring
                                            5

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 1   juice processors to assess their processing operations (known as the hazard analysis),
 2
     identify points in the process at which various hazards may occur (known as critical
 3

 4
     control points), and establish measures to control, prevent, or eliminate those hazards

 5   (known as critical limits). See 21 C.F.R. §§ 120.7-120.13.
 6
           15. Under the juice HACCP regulation, every juice processor must develop, or
 7

 8   have developed for it, a written hazard analysis to determine whether there are food
 9   hazards that are reasonably likely to occur during processing for each type of juice
10
     produced and to identify control measures that the processor can apply to control those
11

12   hazards. 21 C.F.R. § 120.7(a). Whenever a hazard analysis identifies one or more food
13   hazards that are reasonably likely to occur during processing, the processor must have
14
     and implement a written HACCP plan to control the identified food hazards. 21 C.F.R. §
15

16   120.8.
17         16. Additionally, a juice processor’s HACCP plan must identify “critical control
18
     points” (“CCPs”) in the juice manufacturing process at which a control measure can be
19

20   applied that “is essential to reduce an identified food hazard to an acceptable limit.” 21
21
     C.F.R. §§ 120.3(d), 120.7(a)(5).
22
           17. For each CCP, the HACCP plan must establish a “critical limit,” i.e., the
23

24   “maximum or minimum value to which a physical, biological, or chemical parameter
25
     must be controlled ... to prevent, eliminate, or reduce to an acceptable level, the
26
     occurrence of the identified food hazard.” 21 C.F.R. §§ 120.3(e), 120.8(b)(3).
27

28         18. The juice HACCP regulation further requires that juice processors have and
                                            6

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 1   implement a sanitation standard operating procedure that addresses sanitation conditions
 2
     and practices before, during, and after processing. 21 C.F.R. § 120.6.
 3

 4
           19. Under the Act, 21 U.S.C. § 342(a)(4), food is adulterated if it has been

 5   “prepared, packed or held under insanitary conditions whereby it may have become
 6
     contaminated with filth, or whereby it may have been rendered injurious to health.”
 7

 8         20. Under the Act, 21 U.S.C. § 342(a)(3), food is adulterated if “it consists in
 9   whole or in part of any filthy, putrid, decomposed substance, or if it is otherwise unfit for
10
     food.”
11

12         21. Juice products that are processed without adhering to the CGMP requirements
13   or the juice HACCP regulation are adulterated within the meaning of 21 U.S.C. §
14
     342(a)(4).
15

16         22. In addition, juice products are adulterated under 21 U.S.C. § 342(a)(4) when a
17   manufacturer’s quality control operations do not ensure food is suitable for human
18
     consumption. See 21 C.F.R. § 117.1(a)(1)(ii); 21 C.F.R. § 117.80(a)(2).
19

20                               DEFENDANTS’ VIOLATIONS
21
           23. Defendants violated 21 U.S.C. § 331(a) by introducing or delivering for
22
     introduction into interstate commerce, or the causing thereof, food that is adulterated
23

24   within the meaning of 21 U.S.C. § 342(a)(4) and 21 U.S.C. § 342(a)(3).
25
           24. Defendants violated 21 U.S.C. § 331(k) because they cause food held for sale
26
     after shipment of one or more components in interstate commerce to become adulterated
27

28   within the meaning of 21 U.S.C. § 342(a)(4) and 21 U.S.C. § 342(a)(3).
                                            7

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 1         25. Defendants distributed their juice products in interstate commerce to
 2
     customers located in California.
 3

 4
           26. Defendants received tartaric acid, a preservative used in their juice products,

 5   from a supplier in Spain.
 6
           27. Defendants’ juice products are adulterated within the meaning of 21 U.S.C. §
 7

 8   342(a)(4), in that they have been prepared, packed, or held under insanitary conditions
 9   whereby they may have been contaminated with filth, or whereby they may have been
10
     rendered injurious to health. In addition, because Defendants’ juice products are
11

12   processed without adhering to the requirements of 21 C.F.R. Part 120, they are
13   adulterated within the meaning of 21 U.S.C. § 342(a)(4). See 21 C.F.R. § 120.9.
14
     Defendants’ failure to have and implement an adequate HACCP plan created insanitary
15

16   conditions that may render their juice injurious to health. See 21 C.F.R. § 120.9.
17         28. In addition, Defendants’ juice products “consist[] in whole or in part of any
18
     filthy, putrid, or decomposed substance” or are “otherwise unfit for food,” and thus are
19

20   adulterated under 21 US.C. § 342(a)(3).
21
                                        FDA INSPECTIONS
22
           29. Defendants have an extensive history of processing juice under grossly
23

24   insanitary conditions and with an inadequate HACCP plan that has not been properly or
25
     fully implemented. This pattern of continuing violative conduct has been documented by
26
     FDA investigators during inspections on May 6 to June 20, 2019 (the “June 2019
27

28   inspection”); April 30 to July 31, 2018 (the “July 2018 inspection”); March 28 to April
                                           8

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 1   26, 2017 (the “April 2017 inspection”); and December 7, 2015, to January 29, 2016 (the
 2
     “January 2016 inspection”).
 3

 4
           30. Although FDA found violations of CGMP and HACCP during all inspections,

 5   as discussed further below, during the July 2018 inspection, FDA investigators learned
 6
     that Defendants were storing grape juice concentrate outside in covered barrels at
 7

 8   ambient temperatures at a previously undisclosed facility on US Grape Road. Many of
 9   these barrels contained grape juice concentrate that was several years old, with some lot
10
     codes dating back to 2008. As confirmed by FDA sampling, the grape juice concentrate
11

12   in these barrels was contaminated by filth and mold, and thus not suitable for human
13   consumption.
14
           31. FDA investigators also discovered that Defendants processed the “bottoms”
15

16   of stored grape juice concentrate. The “bottom” of juice concentrate is the leftover sludge
17   that accumulates at the bottom of the barrel, after Defendants open a barrel to pull
18
     product off the top, exposing all of the product in the barrel to possible contamination.
19

20   Defendants diluted the “bottoms,” likely to contain contaminants, to be blended with
21
     newer juice. Defendants mixed the juice concentrate from the both the ambient barrels
22
     and the “bottoms” with newer lots to hide the contamination. Defendants promised to
23

24   stop both of these practices, described in paragraphs 30 and 31, but as detailed below,
25
     FDA investigators confirmed during the June 2019 inspection that Defendants continued
26
     both of them.
27

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                                            9

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 1                                    Most Recent Inspection
 2
           32. During the June 2019 inspection, FDA investigators observed multiple
 3

 4
     violations of the CGMP requirements, as the Defendants continued their grossly

 5   insanitary manufacturing and storage practices for their juice products, and recurring
 6
     HACCP violations.
 7

 8                                       CGMP Violations
 9         33. Defendants failed to comply with 21 C.F.R. § 120.6(b), which requires them
10
     to monitor sanitation conditions and practices with sufficient frequency during juice
11

12   processing to ensure conformance with CGMP, as set forth in 21 C.F.R. Part 110 and 21
13   C.F.R. Part 117, subpart B. FDA investigators observed numerous deviations from
14
     CGMP including, but not limited to, the following:
15

16               a. Defendants did not have appropriate quality control operations to ensure
17   that food is fit for human consumption, as required by 21 C.F.R. § 117.80(a)(2). During
18
     the June 2019 inspection, FDA investigators observed that, despite Defendants’ promises
19

20   to stop the practice both during and following the July 2018 inspection, Defendants
21
     continued to blend grape juice concentrate with lot numbers dating back to 2011, and
22
     stored outside at ambient temperatures, with newer product. FDA investigators also
23

24   observed that quality processes that Defendants developed and implemented to ensure
25
     that all blended products were fit for human consumption were inadequate as written and
26
     were often not followed;
27

28               b. Defendants did not conduct their operations under conditions and controls
                                           10

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 1   necessary to minimize the potential for contamination of food, as required by 21 C.F.R. §
 2
     117.80(c). Specifically, during the 2019 inspection, FDA investigators observed
 3

 4
     Defendants continuing to blend “bottoms,” likely to contain contaminants, with newer

 5   juice. Defendants still used this process despite being told at the July 2018 inspection by
 6
     FDA that this process could make the blended juice unfit for human consumption and
 7

 8   promising to FDA investigators that they would discontinue this practice;
 9               c. Defendants did not maintain their facility in a clean and sanitary condition
10
     or keep the facility in good repair, as required by 21 C.F.R. § 117.35(a). For example,
11

12   FDA investigators observed gaps in the walls of the Briner Cold Room and the Mojo
13   Warehouse leading directly outside and liquid leaking from a hole in the roof at the Mojo
14
     Warehouse onto cleaning materials;
15

16               d. Defendants failed to exclude pests from their facility to protect against
17   contamination of food, as required by 21 C.F.R. § 117.35(c). For example, FDA
18
     investigators observed a dead squirrel on the floor of, and live birds flying in, the Mojo
19

20   Warehouse, and bird feathers, bird excreta, and insect fragments on barrels holding juice
21
     concentrate in the Briner Cold Room; and
22
                 e. Defendants failed to develop any sanitation standard operating procedures
23

24   (“SSOPs”), or monitor sanitation with sufficient frequency, in several locations at their
25
     facility, as required by 21 C.F.R. § 120.6(b). Specifically, FDA investigators observed
26
     that Defendants did not have any SSOPs or sanitation monitoring records for the Briner
27

28   Cold Room or US Grape Road. Defendants had a sanitation monitoring record for the
                                            11

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 1   Mojo Warehouse that recorded conditions on a weekly basis, but the record from five
 2
     days before the inspection showed no insanitary conditions, while FDA investigators
 3

 4
     observed egregious insanitary conditions, including a dead squirrel, live birds, bird and

 5   mouse excreta at that location. Defendants did not have an SSOP for the Mojo
 6
     Warehouse.
 7

 8                                       HACCP Violations
 9           34. During the June 2019 inspection, FDA investigators observed that
10
     Defendants had not adequately corrected the HACCP violations that FDA previously
11

12   noted related to the control of inorganic arsenic in apple and pear juice products, and
13   patulin in apple and pear juice products. These HACCP violations were the same or
14
     similar to previous inspections, including, but not limited to:
15

16                 a. Defendants failed to adequately implement the monitoring procedures at
17   critical control points that they identified in their HACCP plans, in violation of 21 C.F.R.
18
     § 120.8. For example:
19

20                    (i) Defendants’ HACCP plan to control inorganic arsenic required
21
     Defendants to sample apple juice products for total arsenic levels, and to perform
22
     additional testing to determine inorganic arsenic levels if total arsenic levels are above 10
23

24   ppb and less than 12 ppb. FDA investigators observed that one lot of apple juice
25
     contained 28 ppb total arsenic, but Defendants did not test the inorganic arsenic levels or
26
     divert the lot from distribution;
27

28                    (ii) Defendants also failed to monitor the critical limits for patulin in
                                            12

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 1   their apple and pear juice products. Defendants’ HACCP plan included the critical limit
 2
     to control patulin: “No visible rotten, moldy or deteriorating apples or pears.” But during
 3

 4
     a ten-minute period at the June 2019 inspection, FDA investigators observed

 5   approximately 46 apples that were visibly deteriorated with mold and rot pass through the
 6
     sorting/culling critical control point;
 7

 8                 b. Defendants failed to adequately implement corrective actions identified
 9   in their HACCP plans, in violation of 21 C.F.R. § 120.l0(a). For example:
10
                       (i) Defendants’ HACCP plans to control inorganic arsenic for both
11

12   apple and pear juice products included the following corrective actions for the detection
13   of high levels of inorganic arsenic: “high levels will be investigated, analyzed, and
14
     trended to ascertain potential origin of high arsenic” and “supplier may be removed from
15

16   supplier list if found to be source of contamination.” During the June 2019 inspection,
17   FDA investigators found that 17 lots of apple juice products produced between July 31,
18
     2018, the date of the close of the previous FDA inspection, and April 10, 2019, had total
19

20   arsenic levels that exceeded 12 ppb, and 2 lots of pear juice products produced between
21
     the same dates had total arsenic levels that exceeded 23 ppb. Defendants only collected
22
     the total arsenic data but did not investigate, analyze, or trend the data to determine the
23

24   cause of the high arsenic in the juice products;
25
                       (ii) Defendants’ HACCP plan to control patulin also required that they
26
     investigate, track, or trend any patulin levels above the critical limit of 50 ppb to
27

28   determine the cause. FDA investigators found no evidence that Defendants investigated,
                                               13

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 1   tracked, or trended any patulin levels above the critical limit of 50 ppb; and
 2
                   c. Defendants failed to identify an appropriate critical limit for controlling
 3

 4
     a known hazard, as required by 21 C.F.R. § 120.8(a)(3). For example, FDA investigators

 5   found that in October 2018, Defendants changed their HACCP plan for control of patulin,
 6
     raising the critical limit for core rot at the sort/cull critical control point from less than 1%
 7

 8   to less than 10%, meaning that whereas they had previously accepted for processing any
 9   apple consisting of 1% or less of core rot they now process any apple consisting of 10%
10
     or less of core rot. Defendants made this change in their written HACCP plan despite a
11

12   history of high patulin levels and after being advised by FDA that apples with a small
13   percentage of rot can produce juice with high levels of patulin. When questioned by FDA
14
     investigators about the change, Defendant Mary Ann Bliesner was unaware of the
15

16   change, despite signing the revised HACCP plan, and could not provide any scientific
17   justification or support for the change.
18
                                          Previous Inspections
19

20           35. FDA investigators observed significant ongoing violations of the Act, the
21
     CGMP requirements, and the juice HACCP regulations during its July 2018, April 2017,
22
     and January 2016 inspections, and issued Lists of Inspectional Observations (“Forms
23

24   FDA-483”) at the conclusion of each inspection. The Forms FDA-483 included
25
     observations of the same type of deficiencies observed at the June 2019 inspection.
26

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                                              14

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 1                                    Previous CGMP Violations
 2
             36. At all three previous inspections, FDA investigators observed that
 3

 4
     Defendants failed to comply with 21 C.F.R. § 120.6(b) that required them to monitor

 5   sanitation conditions and practices with sufficient frequency during juice processing to
 6
     ensure conformance with CGMP, as set forth in 21 C.F.R. Part 110 and 21 C.F.R. Part
 7

 8   117, subpart B. FDA investigators observed numerous deviations from CGMP including,
 9   but not limited to, the following:
10
                  a. Defendants did not have appropriate quality control operations to ensure
11

12   that food is fit for human consumption, as required by 21 C.F.R. § 117.80(a)(2). For
13   example, during the 2018 inspection, FDA investigators discovered Defendants were
14
     storing years old grape juice concentrate outside in covered barrels at ambient
15

16   temperatures. The grape juice concentrate in these barrels was contaminated by filth and
17   mold, and thus not suitable for human consumption. Defendants mixed the juice
18
     concentrate from these barrels with newer lots to hide the contamination;
19

20                b. Defendants did not conduct their operations under conditions and
21
     controls necessary to minimize the potential for contamination of food, as required by 21
22
     C.F.R. § 117.80(c). FDA investigators also discovered in 2018 that Defendants process
23

24   the “bottoms” of stored grape juice concentrate. The “bottom” of juice concentrate is the
25
     leftover sludge that accumulates at the bottom of the barrel, after Defendants open a
26
     barrel to pull product off the top, exposing all of the product in the barrel to possible
27

28   contamination. Defendants dilute the “bottoms,” likely to contain contaminants, to be
                                             15

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 1   blended with newer juice;
 2
                  c. Defendants failed to exclude pests from their facility to protect against
 3

 4
     contamination of food, as required by 21 C.F.R. § 117.35(c). During the 2018, 2017, and

 5   2016 inspections, FDA investigators observed numerous live and dead animals, including
 6
     mice, rats, squirrels, and birds, throughout various buildings used for both storage and
 7

 8   manufacturing. In several instances, FDA investigators also observed rodent excreta on
 9   top of the barrels used to store juice products; and
10
                  d. Defendants failed to monitor sanitation conditions and practices with
11

12   sufficient frequency during juice processing to ensure conformance with CGMP, as
13   required by 21 C.F.R. § l 20.6(b). For example, during the 2018 inspection, FDA
14
     investigators found that Defendants’ sanitation records did not reflect any of the
15

16   insanitary conditions that FDA investigators observed, and Defendants’ sanitation
17   program excluded the US Grape Road location and the Mojo Warehouse.
18
                                    Previous HACCP Violations
19

20           37. During all three previous inspections, FDA investigators observed recurring
21
     significant HACCP violations related to the control of inorganic arsenic in apple and pear
22
     juice products and patulin in apple and pear juice products. These HACCP violations
23

24   included, but were not limited to:
25
                  a. Defendants failed to adequately implement the monitoring procedures at
26
     CCPs that they had identified in their HACCP plans, in violation of 21 C.F.R. § 120.8.
27

28   Specifically, at all three previous inspections, Defendants failed to adequately monitor
                                            16

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 1   core rot, which is necessary to control the development of patulin; and
 2
                  b. Defendants failed to adequately implement corrective actions identified
 3

 4
     in their HACCP plans, in violation of 21 C.F.R. § 120.10(a). At all three previous

 5   inspections, FDA investigators observed that Defendants failed to implement corrective
 6
     actions, including performing investigations into deviations from critical limits, identified
 7

 8   in their HACCP plans for the hazards of inorganic arsenic and patulin.
 9                                         PRIOR NOTICE
10
             38. Defendants have received ample notice that their juice processing operations
11

12   violate the law and that continued violations could lead to regulatory action. At the close
13   of the June 2019, July 2018, April 2017, and January 2016 inspections, FDA
14
     investigators issued Forms FDA-483 to Defendants that notified them of the
15

16   investigators’ observations. FDA investigators also discussed their observations with
17   Defendants and encouraged them to make necessary corrections.
18
             39. In addition, following the January 2016 inspection, FDA sent Defendants a
19

20   Warning Letter dated June 26, 2016, that detailed their CGMP and HACCP violations,
21
     and discussed these violations with Defendants at a regulatory meeting at FDA’s Seattle
22
     District Office on August 21, 2017.
23

24           40. In response to the inspections, Warning Letter, and regulatory meeting, the
25
     Defendants repeatedly promised, both orally and in numerous letters to FDA, to bring
26
     their facility into compliance with regulatory requirements.
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28           41. Specifically, Defendants promised to suspend their violative practices of
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 1   holding juice products outside and blending older juice product that had been subject to
 2
     possible contamination with newer juice products, and to adequately implement their
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 4
     HACCP plans.

 5           42. The most recent FDA inspection showed that Defendants kept none of these
 6
     promises. Although Defendants claimed to be interested in making necessary changes,
 7

 8   compliance with the law has clearly not been a priority.
 9                                      PRAYER FOR RELIEF
10
             WHEREFORE, Plaintiff respectfully requests that this Court:
11

12           I. Permanently restrain and enjoin, under 21 U.S.C. § 332(a), Defendants and
13   each and all of their directors, officers, agents, representatives, employees, attorneys,
14
     successors, assigns, and any and all persons in active concert or participation with any of
15

16   them (including individuals, directors, partnerships, corporations, subsidiaries, and
17   affiliates), who receive notice of the Court’s order, directly or indirectly, from violating
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     21 U.S.C. § 331(a), by introducing or delivering for introduction into interstate
19

20   commerce, or the causing thereof, food that is adulterated within the meaning of 21
21
     U.S.C. § 342(a)(4) and (a)(3), in violation of 21 U.S.C. § 331(a), and causing such food
22
     to become adulterated, within the meaning of 21 U.S.C. § 342(a)(4) and (a)(3), while it is
23

24   held for sale after shipment of one or more of its components in interstate commerce, in
25
     violation of 21 U.S.C. § 33l(k).
26
             II. Order Defendants and each and all of their directors, officers, agents,
27

28   representatives, employees, attorneys, successors, assigns, and any and all persons in
                                            18

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 1   active concert or participation with any of them (including individuals, directors,
 2
     partnerships, corporations, subsidiaries, and affiliates), who receive notice of the Court’s
 3

 4
     order to cease, directly or indirectly, receiving, processing, manufacturing, preparing,

 5   packaging, holding, and distributing any article of food within the meaning of 21 U.S.C.
 6
     § 321(f), at or from Defendants’ facility (and any other or new location at or from which
 7

 8   Defendants receive, prepare, process, pack, hold, or distribute food) unless and until
 9   Defendants bring their operations into compliance with the Act and its implementing
10
     regulations to the satisfaction of FDA; and
11

12           III. Award the United States its costs herein, including the costs of investigation
13   to date, and such other relief as the Court may deem just and proper.
14
     Dated this 6th day of November, 2020.
15

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